                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                Plaintiff,                           )
                                                     )
                v.                                   )   Case No. 17-05023-01-CR-SW-RK
                                                     )
RAYMOND ADAIR,                                       )
                                                     )
                Defendant.                           )
                                                     )


                                                ORDER

        After the United States moved for pretrial detention, a hearing was held in this matter pursuant to

18 U.S.C. § 3142(f). The defendant was present personally and was represented by Erica Mynarich,

attorney at law. The United States was represented by Jim Kelleher, Assistant United States Attorney.

        An indictment has been returned alleging that the defendant committed an offense involving a

minor victim. There exists therefore a rebuttable presumption that there are no conditions which would

reasonably assure appearances at all proceedings, as required, and the safety of other persons and/or the

community. See 18 U.S.C. § 3142(e)(3)(E). Based on the evidence presented at the hearing, there are no

conditions that the Court can impose that would reasonably assure the safety of other persons or the

community.

        The factors to be considered by the Court in determining whether the defendant should be

detained pending trial are enumerated in section 3142(g). The Court has already noted that this case

involves a minor victim. The evidence at the detention hearing established that the weight of the evidence

against the defendant is overwhelming.

        Regarding potential danger to the community, the Court notes the nature of the instant offense

and defendant’s criminal history which includes, but is not limited to, the following: prior felony and

misdemeanor arrests and convictions; multiple convictions for Indecent Exposure; misdemeanor




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conviction for DWI; felony conviction for Possession of a Controlled Substance; and probation non-

compliance.

        Based on all the foregoing, the Court finds by finds by clear and convincing evidence that the

defendant is a danger to the community.

        IT IS THEREFORE ORDERED that the defendant be, and is hereby detained without bail.

        IT IS FURTHER ORDERED that the defendant be committed to the custody of the Attorney

General or his designated representative for confinement in a correction facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The

defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States, or on request of an attorney for the Government, the person in

charge of the corrections facility shall deliver the defendant to the United States Marshal for the purpose

of an appearance in connection with a court proceeding.

IT IS SO ORDERED.

DATED: April 16, 2018

                                                  /s/ David P. Rush
                                                 DAVID P. RUSH
                                                 United States Magistrate Judge




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